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SETTLEMENT AGREEMENT

THIS SETTLEMENT AGREEMENT (the “Agreement”), effective as of the last date
on which it has been executed below by all of the Parties (the “Effective Date”), is by and among
the following:

The Board of Regents of the University of Houston System on behalf of the University of
Houston System and its Member Institutions;
The University of Houston System;
and
The Board of Regents of the University of Houston System,

and

South Texas College of Law Houston, Inc., a Texas corporation.

WHEREAS, as of June 22, 2016, STCLH’s legal name was South Texas College of Law
and it provided legal education services and other related goods and services,

WHEREAS, on June 22, 2016, STCLH announced that it was changing its name to
Houston College of Law and on July 1, 2016, its legal name was changed to Houston College of
Law, Inc.;

WHEREAS, on June 27, 2016, UH filed a lawsuit against STCLH in the United States
District Court for the Southern District of Texas, Houston Division, alleging, among other
things, trademark infringement and unfair competition based on use in commerce of
“HOUSTON COLLEGE OF LAW” and a red and white colored logo also using “HOUSTON
COLLEGE OF LAW;”

WHEREAS, on October 14, 2016, the Court granted UH’s motion for preliminary
injunction against STCLH’s continued use of “HOUSTON COLLEGE OF LAW” during the
pendency of the Lawsuit based on UH’s rights in the UNIVERSITY OF HOUSTON and
UNIVERSITY OF HOUSTON LAW CENTER trademarks; and

WHEREAS, STCLH has renamed itself “SOUTH TEXAS COLLEGE OF LAW
HOUSTON” and has ceased use of “HOUSTON COLLEGE OF LAW” as its name regardless of
the ultimate outcome of the Lawsuit, and the Parties desire to settle the Lawsuit on the following
terms and conditions to avoid further inconvenience and expense.

NOW, THEREFORE, in consideration of the mutual promises, covenants, and
conditions contained here, and other good and valuable consideration, the receipt and sufficiency
of which is hereby acknowledged, the Parties agree as follows:
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DEFINITIONS

The following terms and phrases have the following meanings for all purposes of this
Agreement.

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“Accused Marks” means HOUSTON COLLEGE OF LAW and the logo

HOUSTON

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“Asserted Marks” means federal trademark registration no. 4,116,569 for
UNIVERSITY OF HOUSTON as used with the identified goods and services, and
the common law marks UNIVERSITY OF HOUSTON and UNIVERSITY OF
HOUSTON LAW CENTER for legal education services and related goods and
services.

“Associated Mark” has the meaning set forth in Section 8.5.1.

“HOUSTON Marks” means U.S. trademark application serial no. 87/080,901, and
any other trademark right claimed by UH to the word “HOUSTON” alone. U.S.
trademark registration No. 4,650,772 is not a HOUSTON Mark because of the
stylization of the lettering.

“Lawsuit” means that certain litigation styled, The Board of Regents of the University
of Houston System on behalf of the University of Houston System and its Member
Institutions, The University of Houston System and The Board of Regents of the
University of Houston System y. South Texas College of Law, Civil Action No. 4:16-
cv-1839 (S.D. Tex. 2016)(The Honorable Keith Ellison presiding),

“STCLH” means South Texas College of Law Houston, Inc. and its predecessor
entities of Houston College of Law, Inc. and South Texas College of Law, its
successors and affiliates, and its officers, directors, agents, servants, employees and
attorneys, and other entities who are in active concert or participation with any of
them.

“STCLA Crest Logo” means

 

“Party” means UH and STCLH, individually, and “Parties” means UH and STCLH
collectively.

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“UH” means, individually and collectively, The Board of Regents of the University
of Houston System on behalf of the University of Houston System and its Member
Institutions; The University of Houston System; and The Board of Regents of the
University of Houston System.

2, PHASE OUT OF ACCUSED MARKS

2.1.

2.2.

On November 7, 2016, STCLH filed papers with the Texas Secretary of State to
change its legal name from Houston College of Law, Inc. to South Texas College of
Law Houston, Inc.

As of the Effective Date, STCLH has ceased all past and current uses of the Accused
Marks in commerce as a name or source identifier, including, without limitation, on:

2.2.1. All merchandise offered for sale or gifted to others, including, without limitation,

through the STCLH bookstore at STCLH’s 1303 San Jacinto Street campus and
STCLH’s online bookstore (http://hcl.bncollege.com/),

2.2.2. All signage at STCLH’s campus at 1303 San Jacinto Street,

2.2.3. All billboards.

2.2.4. All social media accounts controlled by STCLH.

2.2.5. All electronic communications, including, but not limited to email, text, SMS and

iMessage.

2.2.6. All printed materials.

2.2.7, Websites, webpages, social media accounts, email systems, domain names, URLs

2.3.

2.4,

and all other electronic communication systems.

2.2.8. All physically printed materials, including, without limitation, brochures,

As of the Effective Date, STCLH has sent correspondence to the last known address
in its records (physical and/or email) to its alumni and existing STCLH students
informing them that STCLH has discontinued use of HOUSTON COLLEGE OF
LAW as a name and source identifier and to proceed with the name and source
identifier South Texas College of Law Houston.

Within 5 days of the Effective Date, STCLH shall file documents with the United
States Patent and Trademark Office expressly abandoning trademark application
serial number 87/035,349, and any other application for trademark using the Accused
Marks.

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2.5. In lieu of an order of injunction entered by the Court in the Lawsuit, STCLH
voluntarily, intentionally and irrevocably agrees that as of the Effective Date:

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2.5.3.

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STCLH has abandoned any and all rights in and to the Accused Marks, and has
abandoned any and all rights in and to any word, term, name, symbol or device
(or any combination thereof) that is identical or confusingly similar to the
Asserted Marks;

STCLH will forever desist from displaying or otherwise using, in commerce as a
name or source identifier, the Accused Marks, and any word, term, name, symbol
or device (or any combination thereof) that is identical or confusingly similar to
the Asserted Marks;

STCLH will forever desist from using in commerce as a source identifier a red
and white color scheme in direct association with the word “HOUSTON,” such as
was done in the following logo:

lam -TOUSTON
PAN COLLEGE OF LAW

PST, 1923

 

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For the avoidance of doubt, nothing in this paragraph shall be construed to
prohibit STCLH from using the color red, including crimson, as an accent color;

STCLH will forever desist from encouraging, inducing, aiding or abetting others
from displaying or otherwise using, in commerce as a name or source identifier,
the Accused Marks, and any word, term, name, symbol or device (or any
combination thereof) that is identical or confusingly similar to the Asserted
Marks; and

STCLH will use reasonable efforts to encourage others including, without
limitation, STCLH alumni, STCLH current students, STCLH potential students,
STCLH vendors, the media and law school service providers, to not display or
otherwise use the Accused Marks in commerce as a name or source identifier of
STCLH.

NO CHALLENGE

As of the Effective Date of this Agreement, STCLH agrees to never challenge or aid the
challenge by another of the ownership or validity of any trademark registration or
common law right in the marks “UNIVERSITY OF HOUSTON” or “UNIVERSITY OF
HOUSTON LAW CENTER” or “HOUSTON LAW” or “HOUSTON” as used by the
University of Houston System for legal education services and related goods and
services.

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4, NOTICE OF BREACH

If either Party believes that the other Party is in breach of any term or condition of this
Agreement, then it shall provide written notice to the other Party detailing such alleged
breach. Upon receipt of such notice, the Parties shall meet, at least 30 days prior to the
filing of any legal action seeking remedies related to such breach, and work in good faith
to reach a resolution.

5, APPROVED STATEMENT

5.1. To the extent UH believes it is reasonably necessary or beneficial for it or its agents to
notify one or more third parties about STCLH’s obligation to phase out or no longer use
the Accused Marks, STCLH agrees that UH may notify third parties, including any
member of the public, concerning all or a portion of the following facts at UH’s sole
discretion:

5.1.1. The court granted UH’s motion to preliminarily enjoin STCLH’s use of
“HOUSTON COLLEGE OF LAW” pending resolution of the dispute by trial, and
may provide a copy of the Court’s Memorandum Opinion Setting Out Findings of
Fact and Conclusions of Law.

5.1.2. Rather than proceed to trial, the Parties agreed to resolve this dispute by
settlement.

5.1.3. STCLH says it has stopped using the Accused Marks, and the school’s new name
going forward is South Texas College of Law Houston.

§.1.4. UH requests that the recipient identify or refer to STCLH as “South Texas
College of Law Houston.”

5.1.5. UH requests that the recipient not identify or refer to STCLH as
5.1.5.1. “Houston College of Law” or
§.1.5.2. “Houston Law” or

§.1.5.3. “South Texas College of Law Houston, formerly known as Houston
College of Law.”

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8.1.

MUTUAL RELEASE

Each of the Parties for themselves, their employees, officers, directors, trustees, faculty,
attorneys, representatives, agents, servants, successors and assigns, hereby
unconditionally release, acquit and forever absolutely discharge each other, their
employees, officers, directors, attorneys, representatives, agents, servants, successors
and assigns, from any and all actions, causes of actions, claims, debts, defenses,
disabilities, accounts, demands, damages, claims for indemnification or contributions,
costs, expenses or fees whatsoever, whether arising in the United States or elsewhere,
whether known or unknown, certain or speculative, asserted or unasserted, relating in
any way to the subject matter made the basis of the claims and defenses in the Lawsuit.

This release does not apply to breaches of this Agreement by any of the Parties or to acts
or omissions by STCLH occurring after the Effective Date, with respect to the Accused
Marks or any word, term, name, symbol or device (or any combination thereof) that is
identical or confusingly similar to the Asserted Marks.

DISPOSITION OF THE LAWSUIT

After the Effective Date, the Parties shall jointly file with the Court a Joint Motion of
Dismissal seeking an order dismissing all claims without prejudice and all counterclaims
without prejudice, ordering each Party to bear its own costs and expenses, and having the
Court retain jurisdiction over this Agreement.

STCLH’S USE OF “HOUSTON”

For so long as STCLH is not in breach of this Agreement, UH consents to and will not
challenge the use by STCLH as a name or source identifier and will not challenge
registration by STCLH of the following marks:

8.1.1. “SOUTH TEXAS COLLEGE:OF LAW HOUSTON,” including without
limitation trademark application serial number 87/234,925,

8.1.2. “STCL HOUSTON,” and

8.1.3. the integral combination of the STCLH Crest logo with the word Houston, such as
shown in the image below:

HOUSTON

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8.2. In addition to the three marks listed in Section 8.1, and for so long as STCLH is not in
breach of this Agreement, UH consents to and will not challenge STCLH’s use of the
word HOUSTON as a name or source identifier for the law school, for an agency or
clinic associated with the law school, and/or for a journal associated with the law school,
so long as each such use complies with each of the following three rules:

8.2.1. The word HOUSTON shall not appear as the first word or as a surname at the
front of the name or source identifier, such as, and for example only, HOUSTON
METROPOLITAN LAW SCHOOL.

8,2,2.. The word HOUSTON shall not be used with solely generic matter, such as, and
only for example, COLLEGE OF LAW OF HOUSTON, or HOUSTON LAW
SCHOOL, or SOUTH HOUSTON TEXAS SCHOOL OF LAW.

8.2.3. The word HOUSTON shall not be immediately followed by generic matter, such
as, and only for example, METROPOLITAN HOUSTON SCHOOL OF LAW.

8.3. For so long as STCLH is not in breach of this Agreement, UH will not challenge
registration of a name or source identifier that complies with Section 8.2.

8.4. For avoidance of doubt, STCLH covenants not to use the word HOUSTON alone as a
name or source identifier for the law school, for an agency or clinic associated with the
law school, and/or for a journal associated with the law school.

8.5. For so long as STCLH is not in breach of this Agreement, UH covenants not to assert the
HOUSTON Marks against STCLH’s additional use of the word HOUSTON, so long as
each such additional use is:

8.5.1. in physical proximity to a name or source identifier for the STCLH law school
that complies with Sections 8.1 or 8.2, and also complies with Section 8.4, or in
physical proximity to a name or source identifier that does not contain the word
HOUSTON, such name or source identifier being an “Associated Mark;” and

8.5.2. the visual presentation of HOUSTON with the Associated Mark shall be no more
than 2 times the font size for an Associated Mark having a font size up to 24 points
and no more than 3 times the font size for an Associated Mark having a font size
larger than 24 points.

8.6. Nothing in this Agreement limits STCLH from using “HOUSTON” to refer to the
geographical location of STCLH’s campus, relying on and asserting the principles of
trademark fair use, or referring in a historically factual manner that STCLH was
temporarily named Houston College of Law.

8.7. Nothing in this Agreement limits UH from challenging in court or otherwise, as a breach
of this Agreement or otherwise, STCLH’s future use of “HOUSTON” other than as
expressly allowed in this Agreement.

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9. NOTICES

9.1. | Any communication, notice, or disclosure required or permitted by this Agreement
shall be in writing and sent by certified mail, and shall be deemed received by the
recipient Party on the date of its actual receipt thereof. In all cases, notice shall be
addressed to the Party for whom it is intended at its address set forth below or to such
other address as a Party shall have designated by notice in writing to the other Party
in the manner provided by this Section:

9.2. Ifto UH:

General Counsel

University of Houston System
4302 University Dr., Suite 317
Houston, Texas 77204

Tel.: (832) 842-5931

9.3. Ifto STCLH:

General Counsel

South Texas College of Law Houston, Inc.
1303 San Jacinto Street

Houston, Texas 77002-7006

Tel.: (713) 659-8040

10. AUTHORITY

Each of the Parties represents and warrants that this Agreement, as well as the terms,
obligations, and undertakings provided for herein, are authorized, and each of the Parties
further agrees that it shall not later attempt to claim that it did not duly approve and
authorize this Agreement.

11, SEVERABILITY

If any part of this Agreement is deemed to be invalid in any court of law, the remaining
provisions of this Agreement shall remain in full force and effect, and may be enforced in
accordance with the provisions hereof.

12, JOINTLY DRAFTED

This Agreement was jointly negotiated and drafted by the Parties and/or their respective
counsel, and shall not be construed against any Party as the drafter hereof.

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BINDING

This Agreement shall be binding upon, and shall inure to the benefit of, the Parties and
their respective officers, employees, executives, affiliates, subsidiaries, administrators,
legal representatives, heirs, related entities, successors, assigns and licensees, if any. In
the event that UH formally and officially changes its name and intentionally ceases using
the word “HOUSTON” as a trademark in commerce, Sections 2, 3 and 8.4 of this
Agreement shall terminate and cease to have any binding effect on any Party.

INDEPENDENT COUNSEL

Each Party has been represented by independent counsel, performed its own independent
investigation, and each Party executes this Agreement after consultation with its
independent counsel.

WHEREAS, HEADINGS AND CAPTIONS

The factual statements made by a Party in the WHEREAS clauses in this Agreement are
not admissions by the other Party. All headings and captions in this Agreement are for
convenience only. No WHEREAS clause, heading or caption shall be deemed part of
this Agreement, and shall not in any way define, limit, extend or describe the scope or
intent of any provision hereof.

COUNTERPARTS

This Agreement may be executed in counterparts, all of which taken together shall
constitute one agreement binding on all the Parties notwithstanding that all the Parties are
not signatories to the original or the same counterpart.

INTEGRATION

This Agreement contains the entire agreement and understanding between the Parties
with respect to the subject matter hereof, and there are no other understandings or
agreements, oral or otherwise, between the Parties with respect to the subject matter
hereof. This Agreement supersedes and voids all prior drafts and understandings, oral or
written, of this Agreement and its subject matter, and that no draft or prior version of this
Agreement may be used to interpret this Agreement. Each Party acknowledges that no
other Party, nor any agent or attorney of any Party, has made any promise, representation,
or warranty whatsoever, and acknowledges that the Party has not executed or authorized
the execution of this Agreement in reliance upon any promise, representation or warranty
that is not expressly set forth herein.

WAIVER

The failure of a Party to exercise or enforce any right conferred upon it by this
Agreement shall not be deemed to be a waiver of any such right or operate to bar the
exercise or enforcement thereof at any time or times thereafter.

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NO AMENDMENT.

This Agreement cannot be amended or changed except by a written agreement executed
by all of the Parties hereto.

CHOICE OF LAW

This Agreement will be interpreted, enforced, and governed by and under the laws of the
State of Texas, without regard to the principles of choice of law.

ELEVENTH AMENDMENT IMMUNITY

Nothing herein shall be construed to be a waiver of UH’s or the State of Texas’ Eleventh
Amendment immunity. Notwithstanding the preceding sentence, it is STCLH's position
that UH previously waived sovereign immunity, and that UH cannot now validly claim
such immunity.

EFFECTIVE DATE

This Agreement shall not become binding on any Party until duly and properly executed
by all Parties.

IN WITNESS WHEREOF, and intending to be bound hereby, the Parties have executed

this Agreement on the dates indicated below.

The Board of Regents of the University of South Texas College of Law Houston,
Houston System on behalf of the Ine,
University of Houston System and its

Member Institutions

The University of Houston System

and

 

and Oo
The Board of Regents of the University of Name; Done lo Z. Guler

Houston System

By:

  

 

Name: Tilman Ferhitta
Title: Onaivman
Date: Maven t DOT

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